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                                                                                FILED
                                                            4:51 pm Oct 18 2023
                            UNITED STATES DISTRICT COURT
                                                         Clerk U.S. District Court
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION       Northern District of Ohio
                                                                                Cleveland

JOHN KOE,                                     )         CASE NO. 1:22 CV 01455
                                              )
               Plaintiff,                     )         JUDGE DAN AARON POLSTER
                                              )
         vs.                                  )         ORDER
                                              )
UNIVERSITY HOSPITALS HEALTH                   )
SYSTEM, INC., et al.,                         )
                                              )
               Defendants.                    )


       Pro se plaintiff John Koe filed a motion for relief from the Court’s judgment entered on

October 13, 2022, purusant to Rule 60(b) of the Federal Rules of Civil Procedure, exactly one

year after judgment was entered. Before Plaintiff filed his motion for relief, however, he filed a

notice of appeal to the Sixth Circuit. (Doc. No. 11).

       A notice of appeal generally “confers jurisdiction on the court of appeals and divests the

district court of control over those aspects of the case involved in the appeal.” Marrese v. Am.

Acad. of Orthopaedic Surgeons, 470 U.S. 373, 379, 105 S. Ct. 1327, 84 L. Ed. 2d 274 (1985)

(citing Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58, 103 S. Ct. 400, 74 L. Ed.

2d 225 (1982) (per curiam)). This includes the jurisdiction to consider Rule 60(b) motions.

Pickens v. Howes, 549 F.3d 377, 383 (6th Cir. 2008) (“After an appeal of a trial court’s final
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judgment has been perfected by the filing of a notice of appeal, the trial court no longer has

jurisdiction to grant a Rule 60(b) motion.” (citation omitted)). Therefore, this Court lacks

jurisdiction to rule on Plaintiff’s motion.

         The Sixth Circuit, however, permits district court review of such motions during the

pendency of an appeal “for the limited purpose of determining whether the court would be

inclined to grant the motion.” Short v. Bradshaw, No. 1:07 CV 2989, 2009 U.S. Dist. LEXIS

11612, *2 (N.D. Ohio Feb. 3, 2009) (citing Akemon v. Brunsman, No. C-1-06-166, 2008 U.S.

Dist. LEXIS 31851, 2008 WL 1766707, *2 (S.D. Ohio Apr. 17, 2008)). To seek Rule 60(b)

relief during the pendency of an appeal, the “proper procedure is for [an appellant] to file his

motion in the district court. If that court indicates that it will grant the motion, the appellant

should then make a motion in [the] court [of appeals] for a remand of the case in order that the

district court may grant the motion.” Post v. Bradshaw, 422 F.3d 419, 422 (6th Cir. 2005)

         Conducting a limited inquiry to indicate whether it would be inclined to grant Plaintiff’s

motion for relief, pursuant to Post, this Court finds that it would not grant Plaintiff’s Rule 60(b)

motion.

         Fed. R. Civ. P. 60(b) provides grounds for relief from a final judgment for several

delineated reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly

discovered evidence that, with reasonable diligence, could not have been discovered in time to

move for a new trial under Rule 59(b); (3) fraud (whether previously called intrinsic or

extrinsic), misrepresentation, or misconduct by an opposing party; (4) the judgment is void; (5)

the judgment has been satisfied . . . or (6) any other reason that justifies relief. Fed. R. Civ. P.

60(b).

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       Rule 60(b) does not grant a defeated litigant “a second chance to convince the court to

rule in his or her favor by presenting new explanations, legal theories, or proof.” Jinks v.

AlliedSignal, Inc., 250 F.3d 381, 385 (6th Cir. 2001). The purpose of a Rule 60(b) motion,

rather, is to permit a district court to reconsider its judgment when that judgment rests on a

defective foundation. The factual predicate of a Rule 60(b) motion therefore concerns some

irregularity or procedural defect in the procurement of the judgment denying relief. See In re

Abdur’Rahman, 392 F.3d 174, 179-80 (6th Cir. 2004) (en banc), judgment vacated in Bell v.

Abdur’Rahman, 545 U.S. 1151, 125 S. Ct. 2991, 162 L. Ed. 2d 909 (2005).

       Relief under Rule 60(b) is “‘circumscribed by public policy favoring finality of

judgments and termination of litigation.’” Blue Diamond Coal Co. v. Trs. of UMWA Combined

Benefit Fund, 249 F.3d 519, 524 (6th Cir. 2001) (quoting Waifersong Ltd., Inc. v. Classic Music

Vending, 976 F.2d 290, 292 (6th Cir. 1992)); Vargo v. D & M Tours, Inc., No. 4:18CV01297,

2020 U.S. Dist. LEXIS 35367, at *9 (N.D. Ohio Mar. 2, 2020) (finding that regardless of the

subsection of Rule 60(b), relief granted under Rule 60(b) is “the exception, not the rule” because

the courts are guided by the constraints imposed by public policy favoring finality of judgment

and termination of litigation).

       Here, Plaintiff fails to identify some irregularity or procedural defect in the procurement

of the judgment. Plaintiff argues that the Court erred in finding it lacked jurisdiction over the

complaint and the Court denied him the opportunity to file an amended complaint before

dismissing the complaint, to his prejudice. (See Doc. No. 14). Upon dismissal, however, the

Court provided Plaintiff 14 days to file a motion to reopen the case and file an amended

complaint. (See Doc. No. 7). Plaintiff’s motion is merely another attempt to convince the court

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to rule in his favor and is an insufficient basis for the Court to grant relief from judgment entered

one year ago. Permitting an amended complaint under these circumstances would undermine the

policy demands of Rule 60, which necessarily balance justice with interests in litigation finality.

See Leisure Caviar, LLC v. United States Fish & Wildlife Serv., 616 F.3d 612, 616 (6th Cir.

2010).

         Accordingly, the Court finds it lacks jurisdiction to rule on Plaintiff’s Rule 60(b) motion

for relief from judgment, and it further finds no proper basis to grant the motion. Plaintiff’s

motion (Doc. No. 14) is therefore denied.

         IT IS SO ORDERED.


                                               DAN AARON POLSTER
                                               UNITED STATES DISTRICT JUDGE




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